DATE Case
        March1:16-cr-00091-MAC-KFG
              29, 2017             Document   48 Filed 03/29/17 Page
                                      CASE NUMBER                             1 of 1 PageID #: 83
                                                                      1:16-cr-91-4(RC)
LOCATION OF HRG       BEAUMONT                USA           Chris Rapp                                                                       Assigned
JUDGE     ZACK HAWTHORN                       VS            Chris Rapp                                                                      Appeared
DEPUTY CLERK     Tonya Piper          JUAN RINCON VELASQUEZ
RPTR/ECRO     Tonya Piper (FTR)                                      Defendant
USPO       Mark Goforth               MARK BENNETT
INTERPRETER Matias Pizario                                             Attorney
BEGIN     3:36 pm



U      Interpreter Sworn                       CONTINUED DETENTION HEARING
U (Detention Hearing)
U Hearing held G Hearing called
G Indictment        G Information    G 2nd SS Indictment
G Information (felony) G Information (misdemeanor)       G Information (sealed)
G Indictment unsealed G Information Unsealed
U Dft appears Uwith       G without   counsel;     G Dft appears pro se;     G Counsel appears on behalf of dft.

Parties announced ready to proceed. Court announced ruling on the record.       Court denied the detention motion and set conditions of release and
bond. The defendant will stay in custody until all of the conditions are met.   Deft remanded to USM custody.

G Order of Temporary Detention
U Dft bond       U set G reset to $ 100,000 with $10,000 cash deposit                       G cash    G surety          G 10 %        GPR      G
unsecured
G Dft remained released on conditions of release
U Order setting conditions of release                  G Bond executed, deft released;
G Entered Order of Detention                           G Temp Detention Pndg Hearing
U Dft remanded to custody of U.S. Marshal;             G Dft agreed to detention at this time.
G Dft failed to appear, oral order for arrest warrant; G bond forfeited               G bench warrant issued
G Government Oral Motion                                                              G Oral Court Order
G Defendant Oral Motion                                                              G Oral Court Order
U Exhibit List                        U Witness List

U    Minutes Filed

                                                                                                                            4:08 pm      Adjourned
                                                                                                                        32 minutes Total Court Time
